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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE:
                                                    Misc. Case No. 15-00204-TPA
  ALL MATTERS RELATED TO NORTH
  AMERICAN REFRACTORIES
  COMPANY, et al. in Case No. 02-20198, as
  affected by the May 24, 2013 Order
  Entering Final Decree entered at Doc. No.         Chapter 11
  7940
         Debtors

  HONEYWELL INTERNATIONAL INC.,
                  Plaintiff,                        Adv. No. 21-2097
      v.

  NORTH AMERICAN REFRACTORIES
  COMPANY ASBESTOS PERSONAL
  INJURY SETTLEMENT TRUST,
                  Defendant




                JOINT MOTION TO AMEND FIRST SUPPLEMENTAL PRETRIAL
                         SCHEDULING ORDER OF COURT

        Honeywell International Inc. (“Honeywell”), the NARCO Asbestos Personal Injury

 Settlement Trust (the “Trust”), the Trust Advisory Committee, and the Future Claimants’

 Representative (collectively, the “Parties and the Intervenors”), by their undersigned counsel,

 move to extend discovery and other deadlines in Honeywell International Inc. v. North American

 Refractories Company Asbestos Personal Injury Settlement Trust, Adv. No. 21-2097 (the

 “Adversary Proceeding”). The new deadlines are interim deadlines that do not affect the scheduled

 trial. The Parties state the following:




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        1.      Honeywell and the Trust cross-filed Complaints on September 20, 2021 and the

 Court filed both in separate dockets as reflected in its September 28, 2021 Order. Adv. Proc. No.

 21-2096, Dkt. Nos. 1-2; Adv. Proc. No. 21-2097, Dkt. Nos. 1-2.

        2.      On October 8, 2021, the Court entered a Pretrial Scheduling Order and 7016(f)

 Notice in both cases. Adv. Proc. No. 21-2096, Dkt. No. 92; Adv. Proc. No. 21-2097, Dkt. No. 93.

        3.      On November 1, 2021, the parties filed a Joint Discovery and Scheduling

 Stipulation in both cases. Adv. Proc. No. 21-2096, Dkt. No. 113; Adv. Proc. No. 21-2097, Dkt.

 No. 117.

        4.      On November 5, 2021, the Court entered the Supplemental Pretrial Scheduling

 Order, which adopted the schedule set forth in the Joint Discovery and Scheduling Stipulation.

 Adv. Proc. No. 21-2096, Dkt. No. 120; Adv. Proc. No. 21-2097, Dkt. No. 119.

        5.      The Supplemental Pretrial Scheduling Order contained a chart of the parties’ agreed

 deadlines, which indicated parenthetically that certain of those deadlines were Court deadlines.

 The Supplemental Pretrial Scheduling Order provided that “if the Parties seek an extension of a

 date set by the Court, as indicated by the phrase ‘Court deadline’ in the Chart as set forth in

 Paragraph 1, above, they must seek judicial intervention.” ¶ 7. The Supplemental Pretrial

 Scheduling Order further provided: “If the deadline is not a ‘Court deadline,’ the Parties may agree

 to a new deadline without judicial intervention.” Id.

        6.      On December 23, 2021, the Parties and Intervenors filed a Joint Motion to Amend

 Supplemental Pretrial Scheduling Order of Court, which Motion requested the extension of certain

 deadlines contained in the November 5, 2021 Supplemental Pretrial Scheduling Order. Adv. Proc.

 No. 21-2096, Dkt. No. 161; Adv. Proc. No. 21-2097, Dkt. No. 167.




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        7.      On January 3, 2022, the Court entered an Order closing Adv. Proc. No. 21-2096

 effective as of January 18, 2022.

        8.      On January 18, 2022, the Court entered that certain Order Granting Joint Motion to

 Amend Supplemental Pretrial Scheduling Order of Court. Adv. Proc. No. 21-2097, Dkt. No. 215

 (the “First Amended Supplemental Pretrial Scheduling Order”).

        9.      Under the First Amended Supplemental Pretrial Scheduling Order, the deadline to

 complete (i) fact depositions was February 16, 2022, (ii) expert depositions is March 16, 2022;

 and (iii) discovery is to close on March 16, 2022. The fact and expert deposition deadlines are not

 Court deadlines but the close of discovery is a Court deadline; however, nothing herein proposes

 or requests to move the final pretrial conference or the scheduled trial.

        10.     The Parties have been cooperating to accommodate all of the depositions the Parties

 desire to take and to coordinate witness availability. Despite this cooperation, the significant

 number of fact and expert witnesses who must be deposed has made it difficult to complete

 discovery within the deadlines set by the First Amended Supplemental Pretrial Scheduling Order.

        11.     Accordingly, the Parties have mutually agreed to certain changes to the discovery

 schedule, which do include changes to several Court deadlines including extending the discovery

 period by 2 additional weeks, extending the deadline for filing preliminary motions by 3 weeks,

 extending and consolidating the date by which the Parties each have to file a Pretrial Statement

 and extending the deadline to file motions in limine by 2 days.

        12.     The Parties have endeavored to ensure that the amended deadlines do not

 significantly affect the amount of time that the Court would otherwise have to review the Parties’

 consolidated pretrial statement and motions in limine prior to the Final Pretrial Conference.




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        13.     Below is a chart which identifies the current date as set forth in the First Amended

 Supplemental Pretrial Scheduling Order and the proposed amended dates:

      Event                           Current Date pursuant             Proposed Amended Date
                                      to    First    Amended
                                      Supplemental Pretrial
                                      Scheduling Order
      Conclude Fact Depositions       February 16, 2022 (Wed.)          March 16, 2022 (Wed.)
      Rebuttal Expert Reports         March 4, 2022 (Fri.)              March 18, 2022 (Fri.)
      Conclude Expert Depositions     March 16, 2022 (Wed.)             April 1, 2022 (Fri.)
      Close of Discovery (Court March 16, 2022 (Wed.)                   April 1, 2022 (Fri.)
      Deadline)
      Last Day for Preliminary March 21, 2022 (Mon.)                    April 11, 2022 (Mon.)
      Motions, Including Motion for
      Summary Judgment (Court
      deadline)
      Plaintiff’s Portion of Pretrial March 21, 2022 (Mon.)             April 11, 2022 (Mon.)
      Statement (Court Deadline)
      Defendant’s Portion of Pretrial April 4, 2022 (Mon.)              April 11, 2022 (Mon.)
      Statement (Court Deadline)
      Parties’ Consolidated Pretrial April 18, 2022 (Mon.)              April 22, 2022 (Fri.)
      Statement and Issues of Law
      Briefs (Court deadline)
      Motions in Limine Deadline April 20, 2022 (Wed.)                  April 22, 2022 (Fri.)
      (Court deadline)


        14.     The remaining dates in the First Amended Supplemental Pretrial Scheduling

 Order, which include submitting copies of the Parties respective trial exhibits to the Court on

 April 27, 2022 and the Final Pretrial Conference scheduled for May 2, 2022 shall remain.

        WHEREFORE, the Parties respectfully request that the Court enter an Order, in

 substantially the form attached hereto, extending the deadlines set forth in the parties’ Joint Motion

 to Amend First Supplemental Pretrial Scheduling Order.




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 DATED: March 14, 2022


 KIRKLAND & ELLIS LLP                               MCDERMOTT WILL & EMERY LLP

 Craig S. Primis, P.C.                              Peter John Sacripanti
 (admitted pro hac vice)                            NY State Bar No. 1970581
                                                    NJ State Bar No. 026281984
 Ronald K. Anguas, Jr.                              D.C. Bar No. 414801
 (admitted pro hac vice)                            (admitted pro hac vice)

 1301 Pennsylvania Avenue, N.W.                     One Vanderbilt Avenue
 Washington, D.C. 20004                             New York, New York 10017-3852
 Telephone: (202) 389-5000                          Telephone: (212) 547-5400
 Facsimile: (202) 389-5200                          Facsimile: (212) 547-5444

 Mark McKane, P.C.                                  QUINN, BUSECK, LEEMHUIS, TOOHEY & KROTO, INC.
 (admitted pro hac vice)
                                                    /s/ Michael P. Kruszewski
 555 California Street                              Michael P. Kruszewski
 San Francisco, CA 94104                            (Pennsylvania Supreme Court ID #91239)
 Telephone: (415) 439-1400
                                                    Arthur D. Martinucci
 Nicole L. Greenblatt, P.C.                         (Pennsylvania Supreme Court ID #63699)
 (admitted pro hac vice)
                                                    2222 W. Grandview Blvd.
 601 Lexington Avenue                               Erie, Pennsylvania 16506
 New York, NY 10022                                 Telephone: (814) 833-2222
 Telephone: (212) 446-4800                          Facsimile: (814) 833-6753
                                                    amartinucci@quinnfirm.com
                                                    mkruszewski@quinnfirm.com

                                                    Counsel to Honeywell International, Inc.




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STONECIPHER LAW FIRM                                  SHERRARD, GERMAN & KELLY, PC.

/s/George T. Snyder                                   /s/Gary Philip Nelson
George T. Snyder, Esq.                                Gary Philip Nelson, Esq.
PA ID No. 53525                                       PA ID No. 27603
125 First Avenue                                      535 Smithfield Street, Suite 300
Pittsburgh, PA 15222                                  Pittsburgh, PA 15222
Telephone: (412) 391-8510                             Telephone: (412) 258-6720
Facsimile: (412) 391-8522                             Facsimile: (412) 261-6221
Email: gsnyder@stonecipherlaw.com                     Email: gpn@sgkpc.com
-and-
                                                                    -and-
CAPLIN & DRYSDALE, CHARTERED
                                                      YOUNG CONAWAY STARGATT &
James P. Wehner, Esq.                                 TAYLOR, LLP
(admitted pro hac vice)
Todd P. Phillips, Esq.                                Edwin J. Harron, Esq. (DE Bar No. 3396)
(admitted pro hac vice)                               Sharon M. Zieg, Esq. (DE Bar No. 4196)
Jeanna Rickards Koski, Esq.                           Sara Beth A.R. Kohut (DE Bar No. 4137)
(admitted pro hac vice)                               Michael S. Neiburg, Esq. (DE Bar No. 5275)
One Thomas Circle, NW, Suite 1100                     Rodney Square
Washington, DC 20005                                  1000 North King Street
Telephone: (202) 862-5000                             Wilmington, Delaware 19801
E-mail: jwehner@capdale.com                           Telephone: (302) 571-6600
tphillips@capdale.com                                 Facsimile: (302) 571-1253
jkoski@capdale.com                                    Email: jpatton@ycst.com
                                                      eharron@ycst.com
Counsel for the NARCO Asbestos Trust Advisory         szieg@ycst.com
Committee                                             skohut@ycst.com
                                                      mneiburg@ycst.com

                                                      Counsel for NARCO Asbestos Future
                                                      Claimants’ Representative




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BABST, CALLAND, CLEMENTS, & ZOMNIR, P.C.

/s/ Erica K. Dausch
David W. Ross, Esquire
PA ID No. 62202
dross@babstcalland.com
Erica Koehl Dausch, Esquire
PA ID No. 306829
edausch@babstcalland.com
Two Gateway Center, 7th Floor
Pittsburgh, PA 15222
Telephone: (412)394-5400
Fax: (412)394-6576

-and-

WILKIE FARR & GALLAGHER LLP

Joseph T. Baio (admitted pro hac vice)
Rachel C. Strickland (admitted pro hac vice)
Daniel I. Forman (admitted (pro hac vice)
Stuart R. Lombardi (admitted (pro hac vice)
Philip F. DiSanto (admitted (pro hac vice)
787 Seventh Avenue
New York, NY 10019-6099
Telephone: (212)728-8000
Fax: (212)728-8111

Attorneys for North American Refractories Company
Asbestos Personal Injury Settlement Trust




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